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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               SAVANNAH DIVISION


 JOHN RANDALL FUTCH,

                Plaintiff,                                CIVIL ACTION NO.: 4:22-cv-295

        v.

 FEDEX GROUND,

                Defendant.

                                          ORDER

       Defendant FedEx Ground removed pro se Plaintiff John Randall Futch’s employment-

discrimination case from the Superior Court of Chatham County, Georgia. (See doc. 1.) The

Magistrate Judge recommended that FedEx’s Motion for Summary Judgment be denied and

former Defendants the United States of America and United States Attorney General Merrick

Garland’s Motion to Dismiss be granted.      (Doc. 47.) Former United States District Judge

William T. Moore, Jr., adopted the Magistrate Judge’s recommendation over both Futch’s and

FedEx’s objections. (Doc. 54.) Based on the nature of Futch’s allegations, the Magistrate Judge

recommended that his Complaint be dismissed. (Doc. 80.) United States District Judge Lisa

Godbey Wood deferred ruling on that Report and Recommendation, pending additional discovery

on Futch’s allegations of discrimination. (Doc. 91.) Judge Wood authorized discovery related

to Futch’s claims of discrimination, but “agree[d] with the Magistrate Judge that Plaintiff’s

continued assertions of a conspiracy between FedEx and the Federal Government [were] . . .

alarming . . . .” (Id. at p. 6.) After Judge Wood authorized discovery, Futch sought records from

third parties. (See doc. 92, p. 1.) The Magistrate Judge denied those requests. (Id. at p. 2.)
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Futch appealed that denial. (Doc. 97.) While his appeal was pending, this case was transferred

to the undersigned. (Doc. 120.)

       The dispute concerning the third-party discovery was first presented by Futch through

motions to compel responses to “requests for production.”          (See docs. 84 & 86.)        As the

Magistrate Judge explained, such “requests” are not effective discovery tools beyond the parties

to a case. (Doc. 92, p. 2.) The Magistrate Judge then explained that the Clerk had erroneously

issued Futch a subpoena directed to another third party and quashed it. (Id. at pp. 3–4.) Finally,

the Magistrate Judge explained that, even if Futch had properly sought the Court’s leave for the

issuance of the subpoena, it would have been denied as the request it contained was too vague to

be enforced. (Id. at p. 4.) Plaintiff’s appeal, while not entirely clear, indicates that he sought the

procedurally improper subpoenas for the substantively improper purpose of pursuing his frivolous

claims against the United States and former Attorney General Garland. To the extent that the

Appeal asserts any legal argument at all, it asserts that that the Magistrate Judge’s denial of the

motions to compel was erroneous because the recipients of the procedurally nonsensical discovery

requests “did not file any response and or objections.” (Doc. 97, p. 3.) It is also possible, but

not entirely clear, that Futch objects to the Magistrate Judge’s denial of his subsequent request to

approve several of the subpoenas at issue in the motions to compel. (See doc. 97, p. 1 (citing doc.

96); see also doc. 95 (Order denying request for subpoenas on relevancy grounds).)

       The Magistrate Judge’s Order on the Motions to Compel is subject to the deferential clearly

erroneous standard of review. The statute governing referrals to the Magistrate Judge provides:

       [A] judge may designate a magistrate judge to hear and determine any pretrial
       matter pending before the court, except a motion for injunctive relief, for judgment
       on the pleadings, for summary judgment, to dismiss or quash an indictment or
       information made by the defendant, to suppress evidence in a criminal case, to
       dismiss or to permit maintenance of a class action, to dismiss for failure to state a
       claim upon which relief can be granted, and to involuntarily dismiss an action. A

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        judge of the court may reconsider any pretrial matter under this subparagraph (A)
        where it has been shown that the magistrate judge’s order is clearly erroneous or
        contrary to law.

28 U.S.C. § 636(b)(1)(A). When considering a party’s objections to a magistrate judge’s ruling

on a non-dispositive matter, the district judge must “modify or set aside any part of the order that

is clearly erroneous or is contrary to law.” Fed. R. Civ. P. 72(a). Otherwise, the magistrate

judge’s ruling stands. “A ruling is clearly erroneous where either the magistrate judge abused his

discretion or the district court, after reviewing the entirety of the record, is left with a definite and

firm conviction that a mistake has been made.” Jackson v. Deen, No. 4:12-cv-129, 2013 WL

3991793, at *2 (S.D. Ga. Aug. 2, 2013) (citing Pigott v. Sanibel Dev., LLC, No. 07–0083–WS–C,

2008 WL 2937804, at *5 (S.D. Ala. July 23, 2008)). A decision by the magistrate judge is

contrary to law when it “fails to follow or misapplies the applicable law.” Id. (citations omitted).

        Futch’s Appeal does not assert or identify any respect in which the Magistrate Judge’s

Order was clearly erroneous or contrary to law. (See generally doc. 97.) Review of the contents

of that Order shows, on the contrary, it was entirely correct. To the extent that Futch addresses

the substance of the Order at all, he suggests that several third parties’ failures to respond to his

requests that they produce documents to him renders those requests, somehow, legitimate.

However, as the Magistrate Judge explained, (doc. 92, pp. 1–2), since those requests were not

based upon any authority in the Federal Rules of Civil Procedure, they were nullities from the

moment they were propounded by Futch. The Magistrate Judge correctly denied Futch’s motions

to compel responses to those defective requests. The Magistrate Judge also correctly recognized

that the Clerk’s issuance of a subpoena contravened this Court’s Standing Order concerning

issuance of subpoenas to pro se parties. (Doc. 92, p. 3 (citing MC 496-06 (S.D. Ga. Jan. 16,

1996)).). Since the subpoena was not properly issued, the Magistrate Judge correctly quashed it.

(Id. at pp. 3–4.) Moreover, to the extent that Futch challenges the Magistrate Judge’s denial of
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his subsequent request for the subpoenas, he does not identify any defect in the Magistrate Judge’s

determination that the request failed to establish any relevance of the requested information to

pending claims in this case. (See generally doc. 97; see also doc. 95, pp. 3–4.) Futch’s Appeal

of the Magistrate Judge’s Order or Orders is, therefore, DENIED. (Doc. 97.)

       Having addressed Futch’s Appeal, the Court must address the status of FedEx’s Motion for

Summary Judgment. (Doc. 112.) First, Futch sought to stay proceedings and extend his deadline

to respond to the Motion pending disposition of his appeal. (Doc. 115.) Since the Court has now

resolved the appeal, the requested stay is moot.       Futch’s Motion, (doc. 115), is, therefore,

DENIED, in part. Futch has filed a document that appears to be his response to the Motion for

Summary Judgment. (See generally doc. 118.) His request for additional time to file that response

is, therefore, also moot. To the extent that Futch’s Motion, (doc. 115), requests an extension, it

is DENIED, in part.       However, the response relies, at least in part, on Futch’s persistent

misunderstandings concerning the status of discovery in this case. (See, e.g., doc. 118, pp. 6–7.)

Since, as discussed above, the Court has not approved the issuance of any subpoenas, any subpoena

that was erroneously issued to Futch would be invalid. (Cf. id. at p. 6 (alleging that an individual

“failed to respond to a valid subpoena.”).) However, given that this Order clarifies the status of

Futch’s disputed subpoenas, the Court cannot be certain that it will not alter the arguments he

might assert in opposition to Defendant’s summary judgment motion. The Court will, therefore,

afford Futch an opportunity to supplement his response. He is DIRECTED to file any additional

material in opposition to Defendant’s summary judgment motion within SEVEN (7) DAYS of the

date of this Order. Defendant is DIRECTED to file its reply to that supplemental material, if

any, by no later than FOURTEEN (14) DAYS from the date of this Order.




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       In summary, Futch’s appeal of the Magistrate Judge’s Order or Orders is DENIED. (Doc.

97.) His request for a stay or an extension of his deadline to respond to the Motion for Summary

Judgment is DENIED. (Doc. 115.) To the extent that he wishes to supplement his opposition

to the Motion for Summary Judgment, he is DIRECTED to submit any supplemental materials

by no later than SEVEN (7) DAYS from the date of this Order. Defendant is DIRECTED to file

its reply to that supplemental material, if any, by no later than FOURTEEN (14) DAYS from the

date of this Order.

       SO ORDERED, this 3rd day of March, 2025.




                                     R. STAN BAKER, CHIEF JUDGE
                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF GEORGIA




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